 Case: 1:10-cr-00387-SL Doc #: 995 Filed: 10/05/12 1 of 4. PageID #: 20119




                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION


UNITED STATES OF AMERICA,                 )       CASE NO. 1:10CR387
                                          )
                      PLAINTIFF,          )       JUDGE SARA LIOI
                                          )
vs.                                       )
                                          )       OPINION & ORDER
                                          )
                                          )
JAMES C. DIMORA,                          )
                                          )
                     DEFENDANT.           )

              On March 9, 2012, after a 37 day jury trial, the jury returned 37 guilty

verdicts against defendant James Dimora relating to 33 of 34 counts in which he was

charged. He was acquitted by the jury on one count. The charges of which Dimora was

found guilty included: RICO conspiracy, conspiracy to commit mail and wire fraud and

honest services mail and wire fraud, Hobbs Act conspiracy and Hobbs Act extortion,

bribery concerning programs receiving federal funds, tax fraud, obstruction of justice,

and destruction of records. (Dimora Verdicts, Doc. No. 738.)

              Immediately following the announcement of the verdicts, the Court

conducted a bond revocation hearing. At the conclusion of the hearing, the Court revoked

the bond of defendant Dimora, and his co-defendant, Michael Gabor, finding both

defendants posed a risk of flight. In a detailed opinion, dated April 23, 2012, the Court

denied defendant Dimora’s motion for release from detention pending sentencing,

finding, once again, that Dimora posed a flight risk. (Doc. No. 867.) Dimora’s renewed

request for release pending sentencing was also denied. (Doc. No. 895.) Dimora
 Case: 1:10-cr-00387-SL Doc #: 995 Filed: 10/05/12 2 of 4. PageID #: 20120




appealed, and the Court’s rulings on the issue of bond were affirmed by the Sixth Circuit.

(Doc. No. 910.).

               On July 18, 2012, the Court denied defendant Dimora’s motions for a new

trial and for a judgment of acquittal. (Doc. No. 930.) On July 30, 2012, and continuing on

July 31, 2012, the Court conducted Dimora’s sentencing hearing. At the conclusion of the

hearing, the Court sentenced defendant Dimora to a term of incarceration of 336 months

on the various charges for which he was convicted.

               During the sentencing hearing, counsel for defendant Dimora made vague

reference to a stack of documents on counsel table that counsel stated included copies of

letters of reference that Dimora had written for various individuals during his tenure as a

public official. With equal ambiguity, Defense counsel also referenced two additional

documents during the sentencing hearing: the first document counsel referred to as the

“Blake Report,” and the second document counsel referred to as the “Integrity Report.”

After the Court had concluded the sentencing hearing and announced its sentence,

defense counsel moved to admit these documents as sentencing exhibits. The government

objected, and the Court took the matter under advisement. The following day (August 1,

2012), the Court denied the request because the documents were never properly identified

or authenticated. (Doc. No. 956.).

               This matter is now before the Court on defendant Dimora’s motion styled

“Motion for Bond Pending Appeal and Proffer of Sentencing Exhibits.” (Doc. No. 965.)

While Dimora makes passing reference to a request for release pending appeal, the focus

of this motion appears to be an attempt to place into the record the proposed exhibits that

this Court refused to admit at the conclusion of the sentencing hearing.
                                             2
 Case: 1:10-cr-00387-SL Doc #: 995 Filed: 10/05/12 3 of 4. PageID #: 20121




              The terms of the defendant’s request for release pending appeal are

governed by 18 U.S.C. § 3143(b)(1), which provides:

       the judicial officer shall order that a person who has been found guilty of
       an offense and sentenced to a term of imprisonment, and who has filed an
       appeal or a petition for a writ of certiorari, be detained, unless the judicial
       officer finds—

              (A)     by clear and convincing evidence that the person is not
                  likely to flee or pose a danger to the safety of any other person
                  or the community if released under section 3142(b) or (c) of
                  this title; and
              (B)     that the appeal is not for the purpose of delay and raises a
                  substantial question of law or fact likely to result in—

                    (i) reversal,

                    (ii) an order for a new trial,

                    (iii) a sentence that does not include a term of imprisonment,

                    or

                  (iv) a reduced sentence to a term of imprisonment less than
                       the total of the time already served plus the expected
                       duration of the appeal process.

       If the judicial official makes such findings, such judicial officer shall order
       the release of the person in accordance with section 3142(b) or (c) of this
       title . . . .

This statute creates a presumption against release pending appeal. United States v.

Scherer, No. 04-3560, 101 Fed. App’x 1002, 1003 (6th Cir. 2004) (citing United States v.

Vance, 851 F.2d 166, 168-69 (6th Cir.), cert. denied, 488 U.S. 893 (1988)).

              Dimora’s two paragraph motion does little more than cite the relevant

statute, and identify the documents that this Court refused to admit after the sentencing

hearing. The motion does not address the governing standard, set forth in § 3143(b)(1), or

identify any substantial questions of law or fact that would support the issuance of bond
                                                3
 Case: 1:10-cr-00387-SL Doc #: 995 Filed: 10/05/12 4 of 4. PageID #: 20122




pending appeal. As such, the motion wholly fails to support Dimora’s request for release

pending appeal. See, e.g., United States v. Kemp, 379 F. Supp. 2d 690 (E.D. Pa. 2005)

(motion for bond pending appeal denied where defendant failed to identify any

substantial questions law or fact). Further, while the motion identifies the previously

unadmitted sentencing exhibits, it fails to explain why these documents—originally

offered in support of a reduced sentence—are relevant to §3143(b)(1) and the request for

bond pending appeal.

               For the reasons set forth in its previous orders denying Dimora’s requests

for release pending sentencing, and because the Court is unaware of any substantial

questions of law or fact that would warrant release at this time, the Court denies Dimora’s

motion for release pending appeal. (See Doc. Nos. 867, 895.) As for defendant Dimora’s

proffer, the Court has already ruled on the admissibility of the referenced documents,

both on the record after the sentencing hearing and in a subsequent written order, and no

further comment is necessary. (See Doc. No. 956.).

                       IT IS SO ORDERED.

Dated: October 5, 2012
                                                HONORABLE SARA LIOI
                                                UNITED STATES DISTRICT JUDGE




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